Case 2:17-cv-01860-JCM-CWH Document 4 Filed 07/07/17 Page 1 of 6




                      EXHIBIT A
Case 2:17-cv-01860-JCM-CWH Document 4 Filed 07/07/17 Page 2 of 6
Case 2:17-cv-01860-JCM-CWH Document 4 Filed 07/07/17 Page 3 of 6
Case 2:17-cv-01860-JCM-CWH Document 4 Filed 07/07/17 Page 4 of 6
Case 2:17-cv-01860-JCM-CWH Document 4 Filed 07/07/17 Page 5 of 6
Case 2:17-cv-01860-JCM-CWH Document 4 Filed 07/07/17 Page 6 of 6
